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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007

DEBRA ANN LIVINGSTON                                         CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                  CLERK OF COURT

Date: April 11, 2023                                         DC Docket #: 21-cv-6416
Docket #: 23-6cv                                             DC Court: EDNY (CENTRAL
Short Title: Kosiba v. Catholic Health Systems of Long       ISLIP)
Island, Inc.                                                 DC Judge: Brown
                                                             DC Judge: Lindsay



                            NOTICE OF DEFECTIVE FILING



On April 11, 2023, the SUPPLEMENTAL APPENDIX, on behalf of Appellee Catholic Health
Systems of Long Island, Inc., was submitted in the above referenced case. The document does
not comply with the FRAP or the Court's Local Rules for the following reason(s):

______ Failure to submit acknowledgment and notice of appearance (Local Rule 12.3)
______ Failure to file the Record on Appeal (FRAP 10, FRAP 11)
______ Missing motion information statement (T-1080 - Local Rule 27.1)
______ Missing supporting papers for motion (e.g, affidavit/affirmation/declaration) (FRAP 27)
______ Insufficient number of copies (Local Rules: 21.1, 27.1, 30.1, 31.1)
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______ Missing Amicus Curiae filing or motion (Local Rule 29.1)
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separately on the docket as originally filed.
______ Other: ___________________________________________________

       Please cure the defect(s) and resubmit the document, with the required copies if
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        Failure to cure the defect(s) by the date set forth above will result in the document being
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Inquiries regarding this case may be directed to 212-857-8543.
